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                         IN THE UNITED        STATES DISTRICT            COURT
                      FOR THE     EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division
                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                              RICHMOND. VA
UNITED    STATES     OF AMERICA


v.                                                    Criminal No. 3:99CR201                    ^
                                                      Civil Action No. ?)\l2>C\IW>W
EUGENE LAMONT        FRIEND


                                   MEMORANDUM OPINION


       By Memorandum Opinion and Order entered on August 26,                                        2002,

the Court denied a motion under 28 U.S.C.                           § 2255 filed by Eugene

Lamont    Friend.          On    October       23,    2012,       the    Court   received            from

Friend       a     "PETITION       FOR        POST    CONVICTION           RELIEF        ON         NEWLY


DISCOVERED         EVIDENCE.            ECF    No.    683.          This    document       must        be


treated as a successive,             unauthorized 28 U.S.C.                 § 2255 motion.

       The       Antiterrorism     and     Effective         Death       Penalty Act          of     1996

restricted         the    jurisdiction          of    the     district        courts       to        hear

second       or    successive      applications             for     federal      habeas         corpus

relief by prisoners attacking the validity of their convictions

and sentences by establishing a "gatekeeping mechanism.''                                       Felker

v.    Turpin,      518    U.S.   651,    657     (1996)       (internal       quotation marks

omitted).            Specifically,            "[b]efore       a     second       or     successive

application permitted by                this     section is         filed in the           district

court,     the      applicant      shall       move    in     the       appropriate       court        of

appeals for an order authorizing the district court to consider

the application."            28 U.S.C.        § 2244(b)(3)(A).
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        The    United           States       Court       of Appeals       for       the     Fourth       Circuit

has     held       that         inmates       may     not       avoid     the       bar     on        successive

collateral           attacks            on     their        convictions             and      sentences          by

inventive          labeling.            See     United       States       v.    Winestock,             340    F.3d

200,    206       (4th Cir.         2003) .          "Call      it    a motion          for a      new trial,

arrest       of    judgment,            mandamus,         prohibition,              coram    nobis,          coram

vobis,      . . . the name makes no difference.                                 It      is substance that

controls."           Melton v.          United States,                359 F.3d 855,          857       (7th Cir.

2004)       (citing Thurman v. Gramley,                         97 F.3d 185,              186-87       (7th Cir.

1996)).           Thus,       "[a]ny motion              filed in        the    district           court      that

imposed        the       sentence,           and     substantively             within        the       scope    of

§ 2255 [(a)],           is      a motion under § 2255,                  no matter what title the

prisoner plasters on the cover."                                Id.     (citing Ramunno v.                  United

States,       264 F.3d 723 (7th Cir.                     2001)).

        Friend's           "PETITION           FOR       POST    CONVICTION             RELIEF         ON    NEWLY


DISCOVERED              EVIDENCE"            raises       constitutional                  violations          with

respect to his guilty plea and falls                                   squarely within the ambit

of     28    U.S.C.          § 2255(a).              Thus,       this     submission             is     properly

construed          as        an     unauthorized,               successive           28    .U.S.C.          § 2255

motion.           See     id.      Because         the    Fourth      Circuit        has    not       authorized


this    Court        to      entertain        Friend's          successive          §   22'55 motion,          the

"PETITION           FOR         POST     CONVICTION             RELIEF         ON       NEWLY         DISCOVERED


EVIDENCE"            (ECF         No.    683)        will        be     dismissed           for        want     of

jurisdiction.
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      An appeal may not be taken from the final order in a § 2255

proceeding unless a judge issues a certificate of appealability

("COA").      28       U.S.C.    §    2253(c)(1)(B).              A    COA     will    not   issue

unless a prisoner makes "a substantial showing of the denial of

a   constitutional           right."           28     U.S.C.          § 2253(c)(2).            This

requirement       is    satisfied        only       when   "reasonable          jurists      could

debate   whether        (or,    for   that      matter,        agree    that)     the    petition

should     have    been      resolved     in    a     different        manner     or    that    the


issues     presented         were     ^adequate       to       deserve       encouragement       to

proceed further.'"              Slack v. McDaniel,             529 U.S.        473,    484   (2000)

(quoting Barefoot v.             Estelle,       463   U.S.      880,     893   & n.4     (1983)).

Friend      fails      to      satisfy      this       standard.               Accordingly,       a

certificate of appealability will be denied.

      The    Clerk      is   directed     to     send      a    copy    of     this    Memorandum

Opinion to Friend and counsel for the United States.



                                                               /s/               Ml_
Date: ^C^A^f/^O
Richmond, Virginia
                                             Robert E. Payne
                                             Senior United States District Judge
